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 5
                            UNITED STATES DISTRICT COURT
 6
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE

 8   INTEGRATIVE HEALTH INSTITUTE
     PLLC, et al.,
 9                                                    Case No. C20-1471-RAJ-MLP
                              Plaintiffs,
10                                                    ORDER
           v.
11

12
     CHRISTINE SCHAFFNER, et al.,

13                            Defendants.

14
           The Court, having reviewed the Report and Recommendation of the Honorable
15
     Michelle L. Peterson, United States Magistrate Judge, any objections thereto, and the
16
     remaining record, hereby finds and ORDERS as follows:
17         (1)    The Report and Recommendation is approved and adopted;

18         (2)    Plaintiff’s Motion for Preliminary Injunction (dkt. # 28) is DENIED
     without prejudice; and
19
           (3)    The Clerk is directed to send copies of this Order to the parties.
20
           DATED this 25th day of October, 2021.
21

22                                                    A
23                                                    The Honorable Richard A. Jones
                                                      United States District Judge



     ORDER - 1
